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              IN THE IOWA DISTRICT COURT IN AND FOR MONTGOMERY COUNTY

 KYLE LAWRENCE STOKKE,                                    CIVIL ACTION NO. LACV__________
      PLAINTIFF,

                                                                 PETITION AT LAW
                                                                 AND JURY DEMAND

 MONTGOMERY COUNTY MEMORIAL
 HOSPITAL, DAVID EARL ABERCROMBIE,
 PHYLLIS DRAKE, KASEY MUELLER,
 KIMBERLY ROBINSON AND KAYLA
 DYSON,
      DEFENDANTS.

        COMES NOW Plaintiff, Kyle Lawrence Stokke, and for his causes of action, states as
follows:
                                         RELEVENT LAW
        1.      The action for Defamation is based on the provisions of Restatement (Second) of
Torts § 558 and Iowa common law, the action for Intentional Infliction of Emotional Distress is
based on the provisions of Restatement (Second) of Torts § 46 (1965) and Iowa common law, the
action for Invasion of Privacy is based on the provisions of Restatement (Second) of Torts § 652 and
Iowa common law, and the action for Violation of the Iowa Civil Rights Act and Americans with
Disabilities Act is based on the provisions of Restatement (Second) of Torts § 905 and Iowa common
law.
                                  JURISDICTION AND VENUE
       2.       This Court has jurisdiction over this matter as the value exceeds the small claims
jurisdictional amount ($6,500.00), and all procedural requirements have been met.
       3.       Venue is appropriate in this court as all actions complained herein occurred in Red
Oak, Montgomery County, Iowa and Montgomery County Memorial Hospital is in Montgomery
County, Iowa.
                                              PARTIES
       4.       Plaintiff, Kyle Stokke (hereinafter “Stokke”), was at all times material hereto a citizen
of the United States and a resident of Montgomery County, Iowa. Since the date of the incident,
                                                   1
                                                                                                    EXHIBIT
                                                                                                            A
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Stokke has been forced to relocate to a different town and county. Stokke currently resides at 311
18th Street, Spirit Lake, Iowa 51360.
        5.     Defendant, Montgomery County Memorial Hospital (hereinafter “MCMH”), is, and
was at all times material hereto, a county owned hospital, organized and operated under the laws of
the State of Iowa, with its principal place of business located at 2301 Eastern Avenue, Red Oak,
Montgomery County, Iowa.
        6.     Defendant, David Earl Abercrombie (hereinafter “Abercrombie”), is, and was at all
times material hereto, Chief Executive Officer of Montgomery County Memorial Hospital. Upon
information and belief, Abercrombie resides at 307 Eastern Avenue, Stanton, Montgomery County,
Iowa.
        7.     Defendant, Kayla Dyson (hereinafter “Dyson”), is, and was at all times material
hereto, an employee of Montgomery County Memorial Hospital. Dyson’s current residence is
unknown.
        8.     Defendant, Phyllis Drake (hereinafter “Drake”), is, and was at all times material
hereto, an employee of Montgomery County Memorial Hospital, and Stokke’s immediate supervisor.
Upon information and belief Drake resides at 510-250th Street, Scranton, Greene County, Iowa.
        9.     Defendant, Kasey Mueller (hereinafter “Mueller”), is, and was at all times material
hereto, an employee of Montgomery County Memorial Hospital. Mueller’s current residence is
unknown.
        10.    Defendant, Kim Robinson (hereinafter “Robinson”), is, and was at all times material
hereto, an employee of Montgomery County Memorial Hospital and served as manager of the Human
Relations Department. Upon information and belief Robinson resides at 1107 Eastern Avenue, Red
Oak, Montgomery County, Iowa.
        11.    Plaintiff is informed, believes, and thereon alleges that at all times relevant, each
Defendant, was the agent, servant, representative and/or employee of MCMH; and that in doing the
things hereinafter alleged, each Defendant was acting within the course and scope of his, her, or its
authority as such agent, servant, representative and/or employee, with the permission, knowledge,
consent and ratification of MCMH. Unless otherwise indicated, all Defendants are collectively
referred to herein as the “Defendants”.
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                                    GENERAL ALLEGATIONS
       12.       Stokke began working for MCMH as a respiratory therapist in the year 2007.
       13.       Stokke was hired by MCMH as a respiratory therapist; his starting wage was $21.10
per hour.
       14.        Abercrombie was MCMH’s Chief Executive Officer during Stokke’s employment as
relevant to this litigation.
       15.       Drake was Stokke’s immediate supervisor during the term of Stokke’s employment
as relevant to this litigation.
       16.       During his employment, Stokke received raises increasing his hourly rate to $23.45
an hour. He continued to work as a respiratory therapist and was responsible for patient care. When
working weekends, Stokke often earned $27.00 - $28.00 per hour. Stokke’s work schedule was to
provide every ninth weekend off however, Stokke only received two weekends off of work per year.
Stokke was constantly on-call five to seven days a week, also on holidays.
       17.       Stokke suffers from a medical condition commonly known as ankylosing spondylitis
(hereafter A.S.). The disease is an incurable genetic condition causing severe inflammation and pain
throughout the joints in the body. Multiple methods of pain management must be employed in order
to maintain mobility. Stress aggravates the condition. At the time of hiring and at all time relevant
to this case, Stokke has endured the symptoms/pain caused by this condition.
       18.        On or about the 11th day of March 2018, Stokke fell to his knee while walking towards
the pavilion in the hospital.
       19.       Two nurses, Amanda Watson and Amanda Baldwin, witnessed Stokke’s fall and
attempted to provide assistance.
       20.       Stokke contacted Drake via text message to inform her of the incident. Drake knew of
Stokke’s medical condition and was aware that Stokke’s knee had given out on other occasions.
       21.       Drake informed Stokke that he needed to report to the emergency room to file a
workman’s compensation claim.
       22.       While reporting to the emergency room, there were two (2) patients being admitted to
the hospital that required emergency/immediate respiratory treatment.


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      23.       Consulting physician Edward Pillar (hereinafter “Dr. Pillar”), authorized Stokke
putting one patient on a bi-pap machine at low settings. Once the patient was stabilized, Stokke
assisted in moving him to the ambulatory care unit.
      24.       Following, Stokke returned to the emergency room and, upon request, assisted a nurse
anesthetist intubate the second trauma patient.
      25.       After assisting other hospital staff in caring for their patients, Stokke had an x-ray
completed of his knee by physician assistant, Cassandra Mueller (hereinafter “Mueller”).
      26.       Thereafter Stokke returned to the patient in the ambulatory care unit to complete an
arterial blood gas analysis.
      27.       Upon completion of the ABG, Stokke returned to the emergency room and was
informed by Mueller that she needed to be see him privately.
      28.       Stokke accompanied Mueller to a private room for discussion.            Mueller was
accompanied by nurse, Dale Stogdill, who was present for the entire conversation. Mueller informed
Stokke that he was being sent home as he was a hazard to his patients.
                                 COUNT I- LIBEL (SLANDER) PER SE
    29. Plaintiff repleads paragraphs one (1) through twenty-eight (28) as if fully set forth herein.
    30. Defendant orally communicated to Plaintiff’s co-workers, clients and/or prospective
employers, false statements about the Plaintiff, claiming that Stokke made terroristic threats against
/towards MCMH and its occupants.
    31. Defendant MCMH’s administrative staff contacted the Plaintiff’s personal physician,
Michael Mahoney M.D., and requested that the doctor commit the Plaintiff, claiming he was a danger
to himself and others and that Plaintiff had made terroristic threats.
    32. Defendant’s allegations are false and were known by Defendant to be false at the time they
were made; in the alternative, the allegations were made with a reckless disregard for whether or not
they were false.
    33. The communications are defamatory per se in that the Stokke could have been charged with
an indictable crime and that such communications have injured him in his business or trade and in his
social interactions within the community; the statements attack Stokke’s veracity and reputation as
an esteemed professional in Montgomery County.
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    34. Defendant has caused these false and defamatory statements to be published to third parties.
    35. The false accusations were attacks on the integrity and moral character of Stokke and gave
the impression that he was a dangerous man to be feared by others.
    36. The false accusations were directly related to Stokke’s ability to perform his employment
duties at MCMH. Reliance on the false accusations was the cause of Stokke’s termination from
MCMH. The false accusations damaged the reputation of Stokke within MCMH as well as within the
Montgomery County, Iowa community.
    37. The statements are entirely false as they pertain to Stokke, and are defamatory, slanderous
on their face, and exposed Stokke to the hatred, contempt, ridicule, and obloquy of the Montgomery
County, Iowa community.
    38. These statements, made to members of the medical community in Montgomery County,
Iowa, were understood by those who heard them in a way that defamed the reputation of Stokke as a
well-respected, hard-working professional; the statements alleged and implied that was Stokke a
threat and danger to everyone within the hospital and community.
    39. The false and defamatory statements and communications of Defendant were not
privileged.
    40. Upon information and belief, Defendants, each of them, failed to use reasonable care to
determine the truth or falsity of the statements. Upon information and belief, the wrongful conduct of
the Defendants, each of them, was a substantial factor in causing Stokke harm, including but not
limited to harm to Stokke’s trade, profession, and/or occupation, expenses Stokke had to pay as a
result of the defamatory statements, harm to Stokke’s reputation, harm to the doctor/patient
relationship Stokke enjoyed with his primary care physician, harm to Stokke’s mental and physical
health, harm to Stokke’s wife/child and the families’ standing in the community and all other harms
assumed by law.
    41. Upon information and belief, by engaging in the above conduct, Defendants, and each of
them, acted with malice, oppression, and/or fraud, entitling Stokke to exemplary and punitive
damages in addition to compensatory damages.
    42. Plaintiff was defamed and damaged in name, reputation and business.


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    43. Plaintiff also incurred costs, expenses, counsel frees, loss of time and inconvenience in
bringing this action.
                             COUNT II- LIBEL (SLANDER) PER QUOD
    44. Plaintiff repleads paragraphs one (1) through forty-four (44) as if fully set forth herein.
    45. Defendant has orally communicated to Plaintiff’s co-workers, patients and/or prospective
employers, false statements about the Plaintiff having made terroristic threats against towards MCMH
and its occupants.
    46. Defendant’s allegations are false and were known by Defendant to be false at the time they
were made; with a reckless disregard for whether or not they were false.
    47. The false and defamatory statements and communications of Defendant were not
privileged.
    48. The statements made by the Defendant, adopted and propagated by MCMH and the county
of Montgomery, resulted in damage to Stokke’s reputation, perceived capabilities in his profession,
exposure to hatred and contempt within his community, termination from MCMH, and to his physical
and mental health.
    49. Upon information and belief, Defendants, each of them, failed to use reasonable care to
determine the truth or falsity of the statements. Upon information and belief, the wrongful conduct of
the Defendants, each of them, was a substantial factor in causing Stokke harm, including but not
limited to harm to Stokke’s trade, profession, and/or occupation, expenses Stokke had to pay as a
result of the defamatory statements, harm to Stokke’s reputation, harm to the doctor/patient
relationship Stokke enjoyed with his primary care physician, harm to Stokke’s physical and mental
health, harm to Stokke’s wife/child and the families’ standing in the community and all other harms
assumed by law.
                          COUNT III-LIBEL (SLANDER) BY IMPLICATION
    50. Plaintiff repleads paragraphs one (1) through forty-nine (49) as if fully set forth herein.
    51. Defendants slandered the Plaintiff by implication.
    52. By information or belief, defendants left out facts, or combined statements in a way that
intentionally conveyed false meaning.


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    53. Defendants participated in several meetings on or about the 12th day of March 2018
wherein the Plaintiff was a subject matter of discussion.
    54. Defendants implied that the hospital was on lockdown because the Plaintiff made
terroristic threats toward the hospital staff/occupants.
    55. Defendants were aware that the Plaintiff was coming to the hospital to meet his personal
physician, Dr. Mahoney.
    56. Defendants contacted law enforcement implying that the Plaintiff was a threat to the
hospital staff and patients.
    57. Upon Plaintiff’s arrival to the hospital, there were five (5) police vehicles present.
    58. On or about the 13th day of March 2018, the Plaintiff returned to MCMH for an
appointment with Dr. Mahoney.
    59. Defendant Phyllis requested that the Plaintiff visit Defendant Abercrombie following the
appointment with his physician.
    60. Plaintiff was escorted by sheriffs through the hospital, in front of all of his co-workers
and peers, to and from his appointment with Abercrombie.
    61.     Defendants implied that the Plaintiff was a danger to others by requesting the presence
of law enforcement when the Plaintiff attended his appointments with his physician.
                     COUNT IV-INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
    62. Plaintiff repleads paragraphs one (1) through sixty-one (61) as if fully set forth herein.
    63. Defendants knowingly made outrageous false statements alleging the Plaintiff made
terroristic threats and insinuating that he was a dangerous man to be feared. Such conduct by the
Defendants went beyond all possible bounds of decency and may be regarded as atrocious and utterly
intolerable in a civilized community.
    64. Defendants had the Plaintiff banned from the property where his primary care physician’s
office is located, preventing Stokke from obtaining medical treatment critical to his care and well-
being.
    65. Defendants banned Stokke from the property thus preventing Plaintiff from attending his
young son’s surgery.


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    66. Stokke’s spouse was monitored by Defendant Ambercrombie while she was in the hospital
for the child’s surgery.
    67. Defendant’s conduct was outrageous and done with the intent to or reckless disregard of
the probability of causing Plainitff emotional distress.
    68. Stokke is suffering severe or extreme emotional distress including, but not limited to: grief,
shame, humiliation, embarrassment, anger, disappointment and worry. No reasonable person should
be forced to suffer this emotional burden.
    69. As a proximate result of Defendants’ intentional or reckless acts, Plaintiff suffered sever or
extreme emotional distress.
    70. Additionally, Defendant’s outrageous conduct is the actual and proximate causation of
aggravated medical decline and enhanced physical pain.
                      COUNT V-WRONGFUL DISCHARGE FROM EMPLOYMENT
    71. Plaintiff repleads paragraphs one (1) through seventy (70) as if fully set forth herein.
    72. Plaintiff was employed by Defendant MCMH from July 2, 2007 until March 13, 2018 when
the Plaintiff was placed on unpaid leave and ultimately terminated by the Defendant.
    73. Defendant MCMH discharged the Plaintiff because of his disability after approximately
eleven and a half (11 ½) years of employment as a respiratory therapist.
    74. During Plaintiff’s employment, he was commended by multiple physicians and other
medical professionals for his outstanding work ethic and skills.
    75. Plaintiff’s medical condition in no way deterred or prevented him from meeting and
exceeding all physical requirements of his employment.
    76. Plaintiff having a disability is protected by public policy which supports him being
employed in the state service, the service of the political subdivisions of the state, the public
schools, and all other employment supported in whole or in part by public funds such as
employment with Defendant MCMH.
    77. The rights of persons with disabilities would be undermined by the Plaintiff’s discharge
from employment.
    78. Plaintiff being a person with a disability was engaged in employment and he was
discharged from his position without justification.
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    79. As a result of Plaintiff’s termination, Plaintiff has sustained damages.
                                 COUNT VI-INVASION OF PRIVACY
    80. Plaintiff repleads paragraphs one (1) through seventy-nine (79) as if fully set forth herein.
    81. Upon information and belief, Defendants intentionally intruded into matters of Plaintiff’s
mental and physical health and relayed such information in a manner that impaired Plaintiff’s peace
of mind and comfort.
    82. Plaintiff had a right to expect privacy.
    83. Plaintiff’s right to privacy in respect of Plaintiff’s condition was unreasonably and
offensively invaded.
    84. Defendant’s intrusion was highly offensive to Stokke and would be highly offensive to a
reasonable person and such is not of legitimate concern to the public.
    85. As a proximate result of Defendants’ invasion of Plaintiff’s privacy, Plaintiff has sustained
injuries and damages including, but not limited to, mental anguish, humiliation, embarrassment and
inconvenience.
                  COUNT VII-VIOLATION OF THE IOWA CIVIL RIGHTS ACT AND
                               AMERICANS WITH DISABILITIES ACT
    86. Plaintiff repleads paragraphs one (1) through eighty-five (85) as if fully set forth herein.
    87. Prior to his employment with Defendant, Plaintiff had been treated for his disability, to-wit:
ankylosing spondylitis.
    88. At all times material to this suit, Defendants failed to accommodate Plaintiff’s disability in
violation of Iowa Code Chapter 216, the Americans with Disabilities Act, Council Bluffs Municipal
Code §1.400.080 and Iowa common law.
    89. At all times material to this suit, Defendants regarded Plaintiff as having a physical
disability. Defendants’ actions in firing Plaintiff because of his physical disability, constituted
illegal discrimination against a qualified individual with a disability, and therefore, violated Iowa
Code Chapter 216, the Americans with Disabilities Act, Council Bluffs Municipal Code §1.400.080
and Iowa common law.




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    90. Defendants’ violation of Plaintiff’s rights was intentional or in reckless disregard of his
rights under Iowa Code Chapter 216, the Americans with Disabilities Act, Council Bluffs
Municipal Code §1.400.080 and Iowa common law.
       WHEREFORE, Plaintiff prays for judgment against all Defendants for all general, special,
exemplary and punitive damages as allowed by law in sum to be proven at trial; that the Defendants’
be held jointly and severally liable for the damages awarded herein; that the Defendants’ be assessed
the costs and fees incurred herein including, but not limited to Plaintiff’s attorney fees; that a
judgement be entered against the Defendants’ with interest as provided by statute; and for such other
and further relief as the Court may deem just and proper in the premises.

                                          JURY DEMAND

       Plaintiff demands a jury trial on all counts to be tried herein.

                                   5th day of ___________
       Respectfully submitted this _____      September 2019.




                                                By:____/s/ Kyle E. Focht____________
                                                Kyle E. Focht – ATT00003968
                                                Focht Law
                                                229 South Main Street
                                                Council Bluffs, Iowa 51503
                                                Telephone: (712) 828-4896
                                                Facsimile : (712) 355-5260
                                                E-mail: kfochtlaw@gmail.com
                                                Attorney for Plaintiff




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              IN THE IOWA DISTRICT COURT IN AND FOR MONTGOMERY COUNTY

 KYLE LAWRENCE STOKKE,                                  CIVIL ACTION NO. LACV__________
      PLAINTIFF,

                                                                  ORIGINAL NOTICE

 MONTGOMERY COUNTY MEMORIAL
 HOSPITAL, DAVID EARL ABERCROMBIE,
 PHYLLIS DRAKE, KASEY MUELLER,
 KIMBERLY ROBINSON AND KAYLA
 DYSON,
      DEFENDANTS.

TO THE ABOVE-NAMED DEFENDANT: Montgomery County Memorial Hospital
       You are notified that a Petition at Law and Jury Demand has been filed in the office of the
clerk of this court, naming you as the Defendant in this action. A copy of the Petition (and any
documents filed with it) is attached to this notice. The attorney for the Petitioner is Kyle E. Focht,
whose address is 229 South Main Street, Council Bluffs, Iowa 51503.
       You must serve a Motion or Answer within 20 days after service of this Original Notice
upon you and, within a reasonable time thereafter, file your Motion or Answer with the Clerk of
Court for Montgomery County, at the county courthouse in Red Oak, Iowa. If you do not,
judgment by default may be rendered against you for the relief demanded in the Petition.
       If you need assistance to participate inn court due to a disability, immediately call your
district ADA coordinator at 712-328-5883. Persons who are hearing or speech impaired may call
Relay Iowa TTY (1-800-735-2942). Disability coordinator cannot provide legal advice.




                             IMPORTANT
   YOU ARE ADVISED TO SEEK LEGAL ADVICE AT ONCE TO PROTECT YOUR
                             INTERESTS.
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STATE OF IOWA JUDICIARY                                                      Case No.   LACV021946
                                                                             County     Montgomery
Case Title    KYLE LAWRENCE STOKKE VS MCMH ET AL

    THIS CASE HAS BEEN FILED IN A COUNTY THAT USES ELECTRONIC FILING.
Therefore, unless the attached Petition and Original Notice contains a hearing date for your appearance, or unless you obtain an
exemption from the court, you must file your Appearance and Answer electronically.

You must register through the Iowa Judicial Branch website at http://www.iowacourts.state.ia.us/Efile and obtain a log in and
password for the purposes of filing and viewing documents on your case and of receiving service and notices from the court.

FOR GENERAL RULES AND INFORMATION ON ELECTRONIC FILING, REFER TO THE IOWA COURT RULES CHAPTER
16 PERTAINING TO THE USE OF THE ELECTRONIC DOCUMENT MANAGEMENT SYSTEM:
http://www.iowacourts.state.ia.us/Efile

FOR COURT RULES ON PROTECTION OF PERSONAL PRIVACY IN COURT FILINGS, REFER TO DIVISION VI OF IOWA
COURT RULES CHAPTER 16: http://www.iowacourts.state.ia.us/Efile




Scheduled Hearing:




If you require the assistance of auxiliary aids or services to participate in court because of a disability, immediately call your district
ADA coordinator at (712) 328-5883 . (If you are hearing impaired, call Relay Iowa TTY at 1-800-735-2942.)

Date Issued   09/09/2019 09:55:54 AM




District Clerk of Montgomery                 County

/s/ Lori DeKay
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              IN THE IOWA DISTRICT COURT IN AND FOR MONTGOMERY COUNTY

 KYLE LAWRENCE STOKKE,                                  CIVIL ACTION NO. LACV__________
      PLAINTIFF,

                                                                  ORIGINAL NOTICE

 MONTGOMERY COUNTY MEMORIAL
 HOSPITAL, DAVID EARL ABERCROMBIE,
 PHYLLIS DRAKE, KASEY MUELLER,
 KIMBERLY ROBINSON AND KAYLA
 DYSON,
      DEFENDANTS.

TO THE ABOVE-NAMED DEFENDANT: David Earl Abercrombie
       You are notified that a Petition at Law and Jury Demand has been filed in the office of the
clerk of this court, naming you as the Defendant in this action. A copy of the Petition (and any
documents filed with it) is attached to this notice. The attorney for the Petitioner is Kyle E. Focht,
whose address is 229 South Main Street, Council Bluffs, Iowa 51503.
       You must serve a Motion or Answer within 20 days after service of this Original Notice
upon you and, within a reasonable time thereafter, file your Motion or Answer with the Clerk of
Court for Montgomery County, at the county courthouse in Red Oak, Iowa. If you do not,
judgment by default may be rendered against you for the relief demanded in the Petition.
       If you need assistance to participate inn court due to a disability, immediately call your
district ADA coordinator at 712-328-5883. Persons who are hearing or speech impaired may call
Relay Iowa TTY (1-800-735-2942). Disability coordinator cannot provide legal advice.




                             IMPORTANT
   YOU ARE ADVISED TO SEEK LEGAL ADVICE AT ONCE TO PROTECT YOUR
                             INTERESTS.
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STATE OF IOWA JUDICIARY                                                      Case No.   LACV021946
                                                                             County     Montgomery
Case Title    KYLE LAWRENCE STOKKE VS MCMH ET AL

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FOR GENERAL RULES AND INFORMATION ON ELECTRONIC FILING, REFER TO THE IOWA COURT RULES CHAPTER
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http://www.iowacourts.state.ia.us/Efile

FOR COURT RULES ON PROTECTION OF PERSONAL PRIVACY IN COURT FILINGS, REFER TO DIVISION VI OF IOWA
COURT RULES CHAPTER 16: http://www.iowacourts.state.ia.us/Efile




Scheduled Hearing:




If you require the assistance of auxiliary aids or services to participate in court because of a disability, immediately call your district
ADA coordinator at (712) 328-5883 . (If you are hearing impaired, call Relay Iowa TTY at 1-800-735-2942.)

Date Issued   09/09/2019 09:55:54 AM




District Clerk of Montgomery                 County

/s/ Lori DeKay
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              IN THE IOWA DISTRICT COURT IN AND FOR MONTGOMERY COUNTY

 KYLE LAWRENCE STOKKE,                                  CIVIL ACTION NO. LACV__________
      PLAINTIFF,

                                                                  ORIGINAL NOTICE

 MONTGOMERY COUNTY MEMORIAL
 HOSPITAL, DAVID EARL ABERCROMBIE,
 PHYLLIS DRAKE, KASEY MUELLER,
 KIMBERLY ROBINSON AND KAYLA
 DYSON,
      DEFENDANTS.

TO THE ABOVE-NAMED DEFENDANT: Phyllis Drake
       You are notified that a Petition at Law and Jury Demand has been filed in the office of the
clerk of this court, naming you as the Defendant in this action. A copy of the Petition (and any
documents filed with it) is attached to this notice. The attorney for the Petitioner is Kyle E. Focht,
whose address is 229 South Main Street, Council Bluffs, Iowa 51503.
       You must serve a Motion or Answer within 20 days after service of this Original Notice
upon you and, within a reasonable time thereafter, file your Motion or Answer with the Clerk of
Court for Montgomery County, at the county courthouse in Red Oak, Iowa. If you do not,
judgment by default may be rendered against you for the relief demanded in the Petition.
       If you need assistance to participate inn court due to a disability, immediately call your
district ADA coordinator at 712-328-5883. Persons who are hearing or speech impaired may call
Relay Iowa TTY (1-800-735-2942). Disability coordinator cannot provide legal advice.




                             IMPORTANT
   YOU ARE ADVISED TO SEEK LEGAL ADVICE AT ONCE TO PROTECT YOUR
                             INTERESTS.
  CaseE-FILED
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STATE OF IOWA JUDICIARY                                                      Case No.   LACV021946
                                                                             County     Montgomery
Case Title    KYLE LAWRENCE STOKKE VS MCMH ET AL

    THIS CASE HAS BEEN FILED IN A COUNTY THAT USES ELECTRONIC FILING.
Therefore, unless the attached Petition and Original Notice contains a hearing date for your appearance, or unless you obtain an
exemption from the court, you must file your Appearance and Answer electronically.

You must register through the Iowa Judicial Branch website at http://www.iowacourts.state.ia.us/Efile and obtain a log in and
password for the purposes of filing and viewing documents on your case and of receiving service and notices from the court.

FOR GENERAL RULES AND INFORMATION ON ELECTRONIC FILING, REFER TO THE IOWA COURT RULES CHAPTER
16 PERTAINING TO THE USE OF THE ELECTRONIC DOCUMENT MANAGEMENT SYSTEM:
http://www.iowacourts.state.ia.us/Efile

FOR COURT RULES ON PROTECTION OF PERSONAL PRIVACY IN COURT FILINGS, REFER TO DIVISION VI OF IOWA
COURT RULES CHAPTER 16: http://www.iowacourts.state.ia.us/Efile




Scheduled Hearing:




If you require the assistance of auxiliary aids or services to participate in court because of a disability, immediately call your district
ADA coordinator at (712) 328-5883 . (If you are hearing impaired, call Relay Iowa TTY at 1-800-735-2942.)

Date Issued   09/09/2019 09:55:54 AM




District Clerk of Montgomery                 County

/s/ Lori DeKay
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                                                                      COURT




              IN THE IOWA DISTRICT COURT IN AND FOR MONTGOMERY COUNTY

 KYLE LAWRENCE STOKKE,                                  CIVIL ACTION NO. LACV__________
      PLAINTIFF,

                                                                  ORIGINAL NOTICE

 MONTGOMERY COUNTY MEMORIAL
 HOSPITAL, DAVID EARL ABERCROMBIE,
 PHYLLIS DRAKE, KASEY MUELLER,
 KIMBERLY ROBINSON AND KAYLA
 DYSON,
      DEFENDANTS.

TO THE ABOVE-NAMED DEFENDANT: Kasey Mueller
       You are notified that a Petition at Law and Jury Demand has been filed in the office of the
clerk of this court, naming you as the Defendant in this action. A copy of the Petition (and any
documents filed with it) is attached to this notice. The attorney for the Petitioner is Kyle E. Focht,
whose address is 229 South Main Street, Council Bluffs, Iowa 51503.
       You must serve a Motion or Answer within 20 days after service of this Original Notice
upon you and, within a reasonable time thereafter, file your Motion or Answer with the Clerk of
Court for Montgomery County, at the county courthouse in Red Oak, Iowa. If you do not,
judgment by default may be rendered against you for the relief demanded in the Petition.
       If you need assistance to participate inn court due to a disability, immediately call your
district ADA coordinator at 712-328-5883. Persons who are hearing or speech impaired may call
Relay Iowa TTY (1-800-735-2942). Disability coordinator cannot provide legal advice.




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                             INTERESTS.
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STATE OF IOWA JUDICIARY                                                      Case No.   LACV021946
                                                                             County     Montgomery
Case Title    KYLE LAWRENCE STOKKE VS MCMH ET AL

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FOR COURT RULES ON PROTECTION OF PERSONAL PRIVACY IN COURT FILINGS, REFER TO DIVISION VI OF IOWA
COURT RULES CHAPTER 16: http://www.iowacourts.state.ia.us/Efile




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ADA coordinator at (712) 328-5883 . (If you are hearing impaired, call Relay Iowa TTY at 1-800-735-2942.)

Date Issued   09/09/2019 09:55:54 AM




District Clerk of Montgomery                 County

/s/ Lori DeKay
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                                                                      COURT




              IN THE IOWA DISTRICT COURT IN AND FOR MONTGOMERY COUNTY

 KYLE LAWRENCE STOKKE,                                  CIVIL ACTION NO. LACV__________
      PLAINTIFF,

                                                                  ORIGINAL NOTICE

 MONTGOMERY COUNTY MEMORIAL
 HOSPITAL, DAVID EARL ABERCROMBIE,
 PHYLLIS DRAKE, KASEY MUELLER,
 KIMBERLY ROBINSON AND KAYLA
 DYSON,
      DEFENDANTS.

TO THE ABOVE-NAMED DEFENDANT: Kimberly Robinson
       You are notified that a Petition at Law and Jury Demand has been filed in the office of the
clerk of this court, naming you as the Defendant in this action. A copy of the Petition (and any
documents filed with it) is attached to this notice. The attorney for the Petitioner is Kyle E. Focht,
whose address is 229 South Main Street, Council Bluffs, Iowa 51503.
       You must serve a Motion or Answer within 20 days after service of this Original Notice
upon you and, within a reasonable time thereafter, file your Motion or Answer with the Clerk of
Court for Montgomery County, at the county courthouse in Red Oak, Iowa. If you do not,
judgment by default may be rendered against you for the relief demanded in the Petition.
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STATE OF IOWA JUDICIARY                                                      Case No.   LACV021946
                                                                             County     Montgomery
Case Title    KYLE LAWRENCE STOKKE VS MCMH ET AL

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COURT RULES CHAPTER 16: http://www.iowacourts.state.ia.us/Efile




Scheduled Hearing:




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ADA coordinator at (712) 328-5883 . (If you are hearing impaired, call Relay Iowa TTY at 1-800-735-2942.)

Date Issued   09/09/2019 09:55:54 AM




District Clerk of Montgomery                 County

/s/ Lori DeKay
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                                                                      COURT




              IN THE IOWA DISTRICT COURT IN AND FOR MONTGOMERY COUNTY

 KYLE LAWRENCE STOKKE,                                  CIVIL ACTION NO. LACV__________
      PLAINTIFF,

                                                                  ORIGINAL NOTICE

 MONTGOMERY COUNTY MEMORIAL
 HOSPITAL, DAVID EARL ABERCROMBIE,
 PHYLLIS DRAKE, KASEY MUELLER,
 KIMBERLY ROBINSON AND KAYLA
 DYSON,
      DEFENDANTS.

TO THE ABOVE-NAMED DEFENDANT: Kayla Dyson
       You are notified that a Petition at Law and Jury Demand has been filed in the office of the
clerk of this court, naming you as the Defendant in this action. A copy of the Petition (and any
documents filed with it) is attached to this notice. The attorney for the Petitioner is Kyle E. Focht,
whose address is 229 South Main Street, Council Bluffs, Iowa 51503.
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STATE OF IOWA JUDICIARY                                                      Case No.   LACV021946
                                                                             County     Montgomery
Case Title    KYLE LAWRENCE STOKKE VS MCMH ET AL

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District Clerk of Montgomery                 County

/s/ Lori DeKay
